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  17
                         UNITED STATES DISTRICT COURT
  18
                        CENTRAL DISTRICT OF CALIFORNIA
  19
     SPENCER ELDEN,                         Case No. 2:21-cv-06836-FMO-AGR
  20
                       Plaintiff,           NOTICE OF MOTION AND
  21                                        MOTION FOR SUMMARY
           v.
                                            JUDGMENT
  22
  23                                             Judge: Hon. Fernando M. Olguin
       NIRVANA, L.L.C., et al.,                  Date: December 5, 2024
  24                                             Time: 10:00 a.m.
                           Defendants.           Crtrm: 6D
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   1 TO ALL PARTIES AND TO THEIR COUNSEL OF RECORD:
   2            PLEASE TAKE NOTICE THAT on December 5, 2024 at 10:00 a.m., or as
   3 soon thereafter as counsel may be heard, in the courtroom of the Honorable Fernando
   4 M. Olguin, located in the United States Courthouse, 350 W. 1st Street, 6th Floor,
   5 Courtroom 6D, Los Angeles, California 90012, Defendants UMG Recordings, Inc.,
   6 Universal Music Group, Inc., Nirvana, L.L.C., Courtney Love (as Executor of the
   7 Estate of Kurt Cobain), Krist Novoselic, David Grohl, and Kirk Weddle (collectively,
   8 “Defendants”) will move the Court for summary judgment.
   9            The Motion is based on this Notice, the attached Memorandum of Points and
  10 Authorities; the accompanying Declaration of Tiana S. Baheri, Declaration of Susan
  11 Hilderley, Declaration of John Silva, and Request for Judicial Notice; all of the
  12 pleadings, files, and records in this proceeding; all other matters of which the Court
  13 may take judicial notice; and any argument or evidence that may be presented to or
  14 considered by the Court prior to its ruling.
  15
       DATED: October 22, 2024             KENDALL BRILL & KELLY LLP
  16
  17                                       By:      /s/ Jeffrey M. Chemerinsky
  18                                             Jeffrey M. Chemerinsky
                                                 Attorneys for Defendants UMG
  19                                             Recordings, Inc., Nirvana, L.L.C.,
  20                                             Courtney Love (as Executor of Estate of
                                                 Kurt Cobain), Krist Novoselic, David
  21                                             Grohl, and Kirk Weddle
  22
                                           -and-
  23
  24 DATED: October 22, 2024               JACKSON WALKER L.L.P.
  25
                                           By:     /s/ Joshua A. Romero
  26                                             Joshua A. Romero (admitted pro hac vice)
  27                                             Attorneys for Defendant Kirk Weddle

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   1 I.         PARTIES’ INTRODUCTION
   2            A.    Defendants’ Introduction
   3            The Court should grant summary judgment and dismiss this case. Plaintiff
   4 Spencer Elden’s (“Plaintiff”) claim that the photograph on the cover of Nirvana’s
   5 Nevermind album is child pornography is meritless. The Nevermind album cover art
   6 (the “Album Cover”), released in 1991, is one of the most iconic photographs of all
   7 time.1 To this day, the album is sold by the biggest commercial retailers throughout
   8 the country and the world. The album is owned by tens of millions of fans. Millions
   9 of people, including Plaintiff and Plaintiff’s parents, also have memorabilia, such as
 10 t-shirts, posters, clocks and other items featuring the Album Cover. A finding that
 11 this cover art is child pornography would lead to a dangerous result.
 12             Nudity, including child nudity, is a common feature of art throughout human
 13 history. There is nothing pornographic or sexual about the Album Cover, which
 14 depicts Plaintiff, then a four-month-old baby, floating in a swimming pool, reaching
 15 for a dollar bill dangling from a fishhook in the foreground. The image was taken in
 16 a public pool with the full participation of the baby’s parents, who not only brought
 17 him to the photoshoot in the pool, but were in the water with him, assisting the
 18 photographer, their close friend. Each of these participants disavowed any sexual
 19 purpose or intent.
 20             Plaintiff’s personal history also is contrary to any claim he is the victim of child
 21 pornography and demonstrates that this case is only a money grab. Now thirty-three
 22 years old, Plaintiff spent most of his life profiting from his celebrity as the self-
 23 anointed “Nirvana baby.” Plaintiff has been paid for reenacting the photograph—
 24 albeit with a bathing suit—and signing posters at conventions. He has even tattooed
 25
 26    1
      The Album Cover is attached and incorporated in Defendants’ Statement of
 27 Uncontroverted Facts (“SUF”) and is appropriate material for judicial notice. SUF ¶
 28 5; Request for Judicial Notice at 1.
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   1 his chest with the word “Nevermind.” Following his father’s lead, he has spent his
   2 lifetime introducing himself in the media and in his personal life as the “Nirvana
   3 baby.” After thirty-three years, Plaintiff claims that he has awakened from “denial.”
   4            Plaintiff’s claim runs into insurmountable legal obstacles. First, the Album
   5 Cover does not come close to meeting the legal standard used by the Ninth Circuit in
   6 analyzing whether an image is child pornography. Although Plaintiff is nude, each
   7 of the other relevant factors clearly compels a finding that this image is not
   8 pornographic. The photo was taken at a public pool during the daytime, the focal
   9 point is not the child’s genitals, and there is no evidence that any individual involved
 10 in the photoshoot (including Plaintiff’s parents and the photographer) had any sexual
 11 purpose or intent. These are factors the Court must weigh, and they compel a grant
 12 of summary judgment. Second, were the child pornography laws interpreted to
 13 criminalize the Album Cover, which has recognized artistic value, the laws would
 14 violate the First Amendment.
 15             For these reasons and those below, the Court should grant summary judgment
 16 and dismiss this case.
 17             B.    Plaintiff’s Introduction
 18             Spencer Elden, through his attorneys Robert Y. Lewis, Margaret Mabie, and
 19 James R. Marsh of Marsh Law Firm PLLC, hereby submits this memorandum of
 20 law in opposition to Defendants’ Motion for Summary Judgment. The Court should
 21 deny the Defendants’ motion in its entirety and allow Plaintiff to proceed to trial.
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   1 II.        PARTIES’ STATEMENT OF FACTS
   2            A.    Defendants’ Undisputed Facts
   3                  1.    The Creation of the Album Cover
   4            Before 1991, Nirvana (the “Band”) had been signed to a small independent
   5 record label. (Statement of Uncontroverted Facts (“SUF”) ¶ 1 (Joint Appendix (“JA”)
   6 at p. 413, ¶ 2).) That year, they switched from their small record label to the high
   7 profile, star-laden Geffen Records (“Geffen”). (SUF ¶¶ 2-3 (JA at p. 413, ¶ 2).)
   8            In advance of Geffen’s release of the Nevermind album, the Band considered
   9 what album cover art would fit their recording. (SUF ¶ 6 (JA at p. 6, ¶ 6).) The Band
 10 discussed a rendition of a water birth, but the Geffen art director suggested a stock
 11 image of a baby under water. (SUF ¶¶ 7-8 (JA at p. 6, ¶¶ 6-7).) Geffen determined
 12 that the price for that image was prohibitively expensive. (SUF ¶ 9 (JA at p. 6, ¶ 7;
 13 JA at p. 28:12-29:10).) Instead, Geffen hired Defendant Kirk Weddle, a photographer
 14 who specialized in underwater photography, to essentially recreate the stock image.
 15 (SUF ¶¶ 10-11 (JA at p. 28:12-29:10; JA at p. 41:14-42:9; 46:6-24; JA at p. 7, ¶ 12,
 16 Ex. 1; JA at p. 7, ¶ 11; JA at 41:14-20).) Weddle invited his close friends, the Eldens,
 17 to bring their baby to the Rose Bowl Aquatics Center for the photoshoot. (SUF ¶¶
 18 12-14 (JA at 62:9-14; JA at 39:3-18; JA at 63:6-15; JA at 116:2-14; JA at 40:5-39:4;
 19 JA at 68:10-80:23; JA at 117:17-118:11).)
 20             Those present at the shoot stated that there was nothing sexual about it.
 21 Plaintiff’s parents each testified that none of the adults present at the photoshoot
 22 (Weddle, Weddle’s assistant, both Elden parents, and the lifeguard on duty) expressed
 23 any sexual intent. (SUF ¶ 15 (JA at 68:10-69:14; JA at 117:3-8, 117:17-118:11,
 24 118:15-17); SUF ¶¶ 18-20 (JA at 82:19-83:13; JA at 121:24-122:7; 45:12-17; JA at
 25 46:1-19).) Both parents acknowledged their voluntary agreement to have the photo
 26 taken, understood its intended use, and assisted with the photoshoot. (SUF ¶¶ 27-30
 27 (JA at 116:9-14; JA at 65:14-66:11; JA at 67:2-7; JA at 65:14-66:11; JA at 67:2-7; JA
 28 at 115:3-8; JA at 63:9-64:11).) Indeed, they were in the pool with Plaintiff passing
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   1 him back and forth. (SUF ¶¶ 16-17 (JA at 70:4-16; JA at 70:22-71:2; JA at 119:6-
   2 120:8; JA at 49:6-7; 49:10-16; JA at 70:4-16; 70:22-71:2; 71:7-15; 72:13-24; JA at
   3 119:6-120:8).) Plaintiff’s parents further testified that they do not view the Album
   4 Cover to be child pornography, and Plaintiff’s father confirmed that the Eldens never
   5 asked Defendants to modify or censor the image in any way. (SUF ¶¶ 31-33 (JA at
   6 61:23-25; 67:8-11; 95:24-96:22; 103:4-25; JA at 121:3-15; 124:17-25; JA at 73:22-
   7 74:5).) Weddle also confirmed that there was no sexual purpose to the photograph.
   8 (SUF ¶¶ 20-22 (JA at 46:1-19; JA at 47:13-83:15; JA at 47:13-48:15).)
   9            Those involved with the creation of the Album Cover have uniformly testified
 10 that the image portrays the tension between commercialism and art. (SUF ¶¶ 24-26
 11 (JA at 44:22-45:20; JA at 133:21-134:19; JA at p. 413, ¶ 3).) The baby, a symbol of
 12 innocence, is reaching for a dollar on a fishhook, thus symbolizing the Band itself,
 13 which had recently left a smaller label and signed on with the star-studded Geffen
 14 Records. (SUF ¶¶ 1-3 (JA at p. 413 ¶ 2); SUF ¶ 26 (JA at p. 413 ¶ 3).)
 15                   2.    The Album Becomes A Success
 16             The album became a major hit. It has sold forty million copies worldwide.
 17 (SUF ¶ 35 (JA at p. 411 ¶ 2).) It has been re-released twice. (SUF ¶ 36 (JA at p. 411
 18 ¶ 2).) Through the years, it has been sold at major retailers worldwide and online.
 19 (Id. ¶¶ 37-38 (JA at p. 411 ¶ 2; JA at p. 4 ¶ 18).)
 20             Over time, the Album Cover likewise made a lasting social, cultural, and
 21 artistic impact. It has been named one of the most iconic album covers of all time by
 22 multiple art and music outlets, including Rolling Stone, Billboard, and Linearity,
 23 among others. (SUF ¶ 39 (JA at pp. 137-343).) It is also part of the New York
 24 Museum of Modern Art’s (“MoMA”) permanent collection. (SUF ¶ 40 (JA at pp.
 25 344-356).)
 26
 27
 28
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   1                  3.    The Eldens Promote and Publicize Plaintiff’s Role in the
                            Album Cover
   2
                The Album Cover does not identify Plaintiff as the baby. (SUF ¶ 41 (JA at pp.
   3
       20-21).) Nor did the Band identify Plaintiff as the baby. Rather, a year after the
   4
       photoshoot, in 1992, Plaintiff’s father granted an interview to Entertainment Weekly,
   5
       in which he recalled the details of the photoshoot and revealed publicly that his son is
   6
       the “Nirvana baby.” (SUF ¶¶ 42-44 (JA at pp. 357-361; JA at 83:14-84:10; JA at
   7
       89:23-91:18; JA at 78:7-143:25; 81:3-8; 100:2-5; JA at 378:11-380:24).) The article
   8
       included a photo of Plaintiff, then approximately fourteen months old, taken at his
   9
       father’s business with props supplied by his father. (SUF ¶ 45 (JA at pp. 357-361; JA
 10
       at 85:14-18; 88:10-15; 97:7-15).) Weddle took the photograph. (SUF ¶ 46 (JA at pp.
 11
       357-361; JA at 85:11-86:7; 87:6-25).) Plaintiff’s father acknowledged that he had
 12
       frequently promoted the album and their son’s participation as the “Nirvana baby”
 13
       over the years. (SUF ¶ 47 (JA at pp. 357-361; JA at 83:14-84:10; JA at pp. 393-394;
 14
       JA at 92:16-94:14; JA at pp. 395-396; JA at 101:5-259:16; JA at pp. 395-396; JA at
 15
       104:1-105:7; 106:12-22; JA at 75:2-77:18; 89:23-91:18; 98:21-99:15).) As an adult,
 16
       until filing this lawsuit, Plaintiff has consistently embraced and attempted to profit
 17
       from his photo on the Album Cover, including by giving interviews about it, selling
 18
       autographed Nevermind memorabilia, and accepting payment to reenact the Album
 19
       Cover. (SUF ¶¶ 49-52 (JA at 405-406; JA at 369:9-370:5; JA at 375:11-24;376:18-
 20
       24; 377:20-22; JA at 381:21-382:7; 383:6-384:2; JA at pp. 407-409; JA at 372:13-
 21
       373:4; 373:6-374:11; 385:22-386:3).)
 22
                Despite the success of Nevermind, the iconic status of the Album Cover, and
 23
       the Eldens’ own promotion of Plaintiff’s role as the “Nirvana baby,” no law
 24
       enforcement agency has ever investigated the Album Cover as child pornography.
 25
       (SUF ¶ 53 (JA at 389:11-390:8).) Plaintiff admitted that he recently reported the
 26
       Album Cover to the FBI, which declined to investigate. (SUF ¶ 54 (JA at 387:20-
 27
       388:15).)
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   1            In short, even viewing the evidence in Plaintiff’s favor, no reasonable juror
   2 could find the Album Cover is child pornography.
   3            B.    Plaintiff’s Statement of Genuine Disputes of Material Facts
   4            This case concerns Plaintiff Spencer Elden’s status as a victim of criminal
   5 violations for child pornography offenses concerning the Nevermind album cover. In
   6 1990, Defendant DCG Records hired Robert Fisher as art director. (Dkt. 25 ¶ 62).
   7 According to Fisher, Nirvana wanted images of nude babies for the cover of their
   8 1991 Nevermind album. (Dkt. 25 ¶ 63). Cobain, Fisher, and Defendants Novoselic
   9 and Grohl engaged in an extensive debate about what to pair with the naked baby on
 10 the Nevermind album cover, considering objects commonly associated with prurient
 11 interests. (Dkt. 25 ¶ 67). In published journals, Cobain sketched the Nevermind
 12 album cover and, in at least one instance, drew sperm or semen all over the image.
 13 (Dkt. 25 ¶ 60). Cobain’s journals state:
 14             “I like to make incisions into the belly of infants then fuck the incision
 15             until the child dies.” * * *
 16
       (Dkt. 25 ¶ 60).
 17
                In 1991, Defendants hired photographer Defendant Kirk Weddle because
 18
       Weddle specialized in photographing “submerged humans.” (Dkt. 25 ¶ 72 & Fisher
 19
       Dec ¶¶ 11-12). Weddle took a series of photos of Spencer, who was then a 4-month-
 20
       old infant, that highlighted and emphasized Spencer’s exposed genitals. (Dkt. 25 ¶
 21
       74). Fisher, at the direction of the Defendants, superimposed the image of a dollar
 22
       bill hanging from a fishhook onto Spencer’s image. (Dkt. 25 ¶ 75).
 23
                When the album cover was nearly complete, Fisher “rout[ed]” a final mockup
 24
       to Nirvana and Geffen Records, attaching the note: “If anyone has a problem with
 25
       his dick, we can remove it.” (Dkt. 25 ¶ 86). That pedophilia was on the minds of the
 26
       creators is evidenced by the song on the album entitled “Polly,” which rhapsodizes
 27
       about the sexual exploitation of a child, including the child’s abduction and rape.
 28
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   1 (Dkt. 25 ¶ 90). When confronted with the cover’s appeal to pedophiles, Cobain
   2 sardonically declared that they should put a sticker on the album cover stating: “If
   3 you’re offended by this, you must be a closet pedophile.” (Dkt. 25 ¶ 87). Weddle
   4 later produced photographs of Spencer dressed as Hugh Hefner. (Dkt. 25 ¶ 82).
   5 III.       ARGUMENT 1: SUMMARY JUDGMENT ON THE PLAINTIFF’S
                CHILD PORNOGRAPHY CLAIM
   6
                A.    Defendants’ Argument: Defendants Are Entitled to Summary
   7                  Judgment Because the Album Cover Is Not Child Pornography as
                      a Matter of Law
   8
   9            The undisputed evidence establishes that the Album Cover is not child
 10 pornography. Child pornography laws do not proscribe innocent depictions of child
 11 nudity; rather, such laws make it illegal to entice or coerce a child to engage in
 12 “sexually explicit conduct for the purpose of producing any visual depiction of such
 13 conduct.” 18 U.S.C. § 2251(a). “[S]exually explicit conduct” is defined to include
 14 the “lascivious exhibition of the anus, genitals, or pubic area.” Id. § 2256(2)(A)(v).
 15             Courts look to United States v. Dost, 636 F. Supp. 828 (S.D. Cal. 1986), aff'd
 16 sub nom. United States v. Wiegand, 812 F.2d 1239 (9th Cir. 1987), to determine
 17 whether an image constitutes a “lascivious exhibition.” See United States v. Boam,
 18 69 F.4th 601, 609-610 (9th Cir. 2023), cert. denied, 144 S. Ct. 1345 (2024) (applying
 19 Dost factors). However, the Dost factors “are neither exclusive nor conclusive,” but
 20 rather “general principles as guides for analysis.” United States v. Hill, 459 F.3d 966,
 21 972 (9th Cir. 2006) (internal quotation marks omitted). The inquiry must be case-
 22 specific and “based on the overall content of the visual depiction.” Id. (citation
 23 omitted). The Dost factors are:
 24             (1) whether the focal point of the visual depiction is on the child’s
                genitalia or pubic area;
 25
                (2) whether the setting of the visual depiction is sexually suggestive,
 26             i.e., in a place or pose generally associated with sexual activity;
                (3) whether the child is depicted in an unnatural pose, or in
 27
                inappropriate attire, considering the age of the child;
 28             (4) whether the child is fully or partially clothed, or nude;
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   1            (5) whether the visual depiction suggests sexual coyness or a
                willingness to engage in sexual activity;
   2
                (6) whether the visual depiction is intended or designed to elicit a sexual
   3            response in the viewer.
   4
                Where, as here, the image is unequivocally non-sexual, it is not child
   5
       pornography as a matter of law. While the Dost factors provide general guideposts
   6
       for the analysis, whether an image is a “lascivious exhibition” of the genitals is a
   7
       “commonsensical” determination. Wiegand, 812 F.2d at 1243.
   8
                Here, the Album Cover is an innocent image of a naked baby floating toward a
   9
       fishhook with a dollar bill dangling from it. Such an innocuous image is not child
 10
       pornography. See, e.g., United States v. Knox, 32 F.3d 733, 750 (3d Cir. 1994) (“No
 11
       one seriously could think that a Renoir painting of a nude woman or an innocuous
 12
       family snapshot of a naked child in the bathtub violates the child pornography laws.
 13
       Nudity must be coupled with other circumstances that make the visual depiction
 14
       lascivious or sexually provocative in order to fall within the parameters of the [child
 15
       pornography] statute.”).
 16
                In United States v. Perkins, 850 F.3d 1109 (9th Cir. 2017), the Ninth Circuit
 17
       applied this commonsensical approach and asked whether the image would be
 18
       sexually suggestive if the genitals were clothed. Id. at 1122. The Court found that
 19
       the image would be innocuous absent the nudity and therefore the image was not
 20
       child pornography: “Indeed, if the subject were clothed, this would be a completely
 21
       unremarkable photo. Viewing the image as a whole, we conclude, under the Dost
 22
       six-factor test, that it does not depict the ‘lascivious exhibition of the genitals or
 23
       pubic area.’” Id. The same result is warranted here: if Plaintiff’s genitals were
 24
       clothed on the Album Cover, the image would be completely unremarkable in terms
 25
       of sexual suggestiveness. No reasonable juror could find otherwise. The Dost
 26
       factors and other considerations specific to this case compel a grant of summary
 27
       judgment.
 28
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   1            A motion for summary judgment should be granted where, as here, there is no
   2 genuine issue of material fact and the moving party is entitled to judgment as a
   3 matter of law. Fed. R. Civ. P. 56(c); Anderson v. Liberty Lobby, Inc., 477 U.S. 242,
   4 247-48 (1986) (holding summary judgment inappropriate only where “the dispute
   5 about a material fact is ‘genuine,’ that is, if the evidence is such that a reasonable
   6 juror could return a verdict for the nonmoving party”).
   7                  1.    Plaintiff Is Nude on the Album Cover
   8            The only Dost factor met here is that the child is nude. The law requires more.
   9 “[N]ot all images of nude children are pornographic. For example, a family snapshot
 10 of a nude child bathing presumably would not be criminal.” Hill, 459 F.3d at 970
 11 (internal quotation marks omitted); United States v. Villard, 885 F.2d 117, 121 (3d
 12 Cir. 1989) (“The language of the statute makes clear that the depictions must consist
 13 of more than merely nudity; otherwise, inclusion of the term ‘lascivious’ would be
 14 meaningless.”).
 15                   2.    The Album Cover Setting Is Not Sexually Suggestive
 16             The setting of the photograph—which appears only as a clear body of water
 17 and was, in fact, a public pool—establishes that the image is not child pornography.
 18 A clear body of water or pool is not sexually suggestive or associated with sexual
 19 activity. This is not a bed or bedroom. United States v. Overton, 573 F.3d 679, 687
 20 (9th Cir. 2009) (“The image is sexually suggestive because the child is sitting on a
 21 bed—a place generally associated with sexual activity.”); United States v. Steen, 634
 22 F.3d 822, 827 (5th Cir. 2011) (“Traditional settings that meet this standard are beds
 23 or bedrooms.”).
 24             A body of water, generally, and a public pool, in particular, are not sexually
 25 suggestive as a matter of law. Generally, places open to the public are not sexually
 26 suggestive. See, e.g., United States v. Boudreau, 250 F.3d 279, 283 (5th Cir. 2001)
 27 (holding an outdoor park is not sexually suggestive). The setting here is a nondescript
 28 daytime image of a clear swimming pool. Nondescript backgrounds, which render
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   1 the setting undiscernible, are not sexually suggestive or generally associated with
   2 sexual activity. United States v. Larkin, 629 F.3d 177, 184 (3d Cir. 2010) (holding
   3 the setting of an image taken “at close range against what appears to be a wall” was
   4 not sexually suggestive “because the setting cannot be discerned”); Doe v.
   5 Chamberlin, 299 F.3d 192, 197 (3d Cir. 2002) (holding “a white paper background
   6 typical of studio photography” is not sexually suggestive); United States v. Brown,
   7 579 F.3d 672, 681-82 (6th Cir. 2009) (holding “the floor” is not sexually suggestive).2
   8            In sum, there is nothing sexual about child swimming at daytime in a public
   9 swimming pool. This factor favors Defendants.
 10                   3.    The Album Cover Does Not Depict an Unnatural Pose
 11             Plaintiff’s pose on the Album Cover also favors a finding that the image is not
 12 child pornography. Undisputed deposition testimony from Weddle and Plaintiff’s
 13 parents confirms that Plaintiff was not posed in any way; rather, he was dropped in
 14 the water for a few seconds, and the photographer snapped several images of him as
 15 he drifted briefly in the water. (SUF ¶ 17 (JA at 49:6-7; 49:10-16; JA at 70:4-16;
 16 70:22-71:2; 71:7-15; 72:13-24; JA at 119:6-120:8); SUF ¶¶ 21-22 (JA at 47:13-
 17
 18    2
         Similarly, bathrooms, showers, or bathtubs, standing alone, are not generally
 19    associated with sexual activity. Brown, 579 F.3d at 681-82 (“The setting of most of
 20    the photographs—the bathtub, the toilet, and the floor—is not sexually suggestive”);
       United States v. Henry, 2018 WL 3436826, at *3 (E.D. Cal. July 13, 2018), aff’d, 798
 21    F. App’x 107 (9th Cir. 2020) (describing images of bathrooms and bedrooms and
 22    holding only “the latter” is “a place associated with sexual activity”). In determining
       whether a bathtub or shower is sexually suggestive, courts consider the specifics of
 23    the image, including whether the bathtub or shower being used for its intended
 24    purpose, i.e., bathing or showering. For example, in Larkin, the Third Circuit
       emphasized that the subject in the image “does not appear to be in the act of bathing,
 25    there is no water in the bathtub, and she does not appear wet,” which “suggests that
 26    the bathtub/shower, in this instance, was meant to convey to the intended viewer that
       the shower is a location for a potential sexual encounter.” Larkin, 629 F.3d at 183.
 27    Here, by contrast, that analysis would also favor a finding that the Album Cover is
 28    not child pornography: the child in this image is swimming in the public pool.
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   1 48:15).)       The law is clear that a natural pose undermines a finding of child
   2 pornography. Perkins, 850 F.3d at 1122 (holding a child “sitting in ‘an ordinary way
   3 for her age’” is not unnatural); United States v. Amirault, 173 F.3d 28, 34 (1st Cir.
   4 1999) (“Furthermore, the child is not depicted in an unnatural pose. She is merely
   5 standing, face forward and with legs more together than apart, in a large hole in the
   6 sand …. Her arms are slightly raised, as if she were about to pat down the sand
   7 surrounding the hole.”); Villard, 885 F.2d at 124 (holding that a “naked boy lying in
   8 bed with a partial erection, appearing to be asleep, with his knees ‘bent slightly
   9 upwards’” is “an insufficient basis from which to conclude that the male’s pose was
 10 unnatural”).
 11            Further, Plaintiff’s pose on the Album Cover is nothing like poses courts have
 12 held are unnatural. In Dost, for example, the child victim was photographed in “poses
 13 [that] border[ed] on the acrobatic in order to obtain an unusual perspective on her
 14 genitalia,” including a photo of her “fully extended in a supine position” and other
 15 photos of her sitting in a position “with her legs wide apart.” Dost, 636 F. Supp. at
 16 833. In other cases, courts have found that the pose supports child pornography
 17 because the photograph appears staged in such a way as to emphasize the child’s
 18 genitals. See Larkin, 629 F.3d at 183-84 (“The positioning of her head as resting on
 19 her shrugged shoulders as she attempts a smile appears to be at the direction of the
 20 photographer rather than a natural pose for a child of her age …. she is sheepishly
 21 looking into the camera, her shoulders slightly shrugged, and she appears to be
 22 pushing her arms against her sides to give the impression that she has developing
 23 breasts.”).3 There is no dispute that did not occur here. (SUF ¶ 22 (JA at 47:13-
 24
 25   3
      Cf. United States v. Wallenfang, 568 F.3d 649, 659 (8th Cir. 2009) (holding pose
 26 unnatural where the child “[was] sitting on the floor with her dress raised up and one
    of her legs [was] raised, exposing her genitalia through the sheer pantyhose”).United
 27 States v. Wolf, 890 F.2d 241, 246 (10th Cir. 1989) (“One of the child’s legs is propped
 28 up on a pillow and the other pulled forward in a way which is not a natural sleeping
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   1 48:15).)
   2            Thus, the third Dost factor also supports the conclusion that the Album Cover
   3 is not child pornography.
   4                  4.    The Focal Point of the Album Cover Is Not the Genitals
   5            The next factor, which looks to the focal point of the photograph, favors a
   6 finding that this image is not child pornography: The focal point of the Album Cover
   7 is Plaintiff’s face and hands as he reaches for the dollar bill on the fishhook, which
   8 conveys the social, political, artistic message of the Album Cover. (SUF ¶¶ 24-26
   9 (JA at 44:22-45:20; JA at 133:21-134:19; JA at p. 413, ¶ 3).) The child’s genitals are
 10 not the focal point. As explained below, none of the factors that courts have found to
 11 emphasize the genitals are present.
 12             First, the Album Cover does not depict a closeup view of the genitals through
 13 zooming, cropping, or freeze-framing. Cf. Overton, 573 F.3d at 687 (holding genitals
 14 were the focal point; “The image is a close up, frontal view of the child’s genitals and
 15 breasts, both of which are fully exposed.”); United States v. Stewart, 729 F.3d 517,
 16 522 (6th Cir. 2013) (holding images were cropped “so that the cropped image focused
 17 solely on the female genitalia of the naked, or nearly naked, child in the original
 18 image”).4
 19             The Album Cover depicts the entire child, including his arms, legs, face, and
 20
 21 position, with the obvious purpose of enhancing and depicting the child’s genital
 22 area.”).
 23    4
         United States v. Torres, 894 F.3d 305, 312 (D.C. Cir. 2018) (“Reinforcing that
 24    conclusion, the composition of all four photos—with [the child] lying back on the
       bed, while [defendant] stood over him and zeroed in to frame images featuring [his]
 25    exposed genitals—had the effect of ensuring that [the child’s] penis was the focal
 26    point of each photograph.”); United States v. Horn, 187 F.3d 781, 790 (8th Cir. 1999)
       (finding freeze-framed images of video tapes lascivious because “[s]hots of young
 27    girls are freeze-framed at moments when their pubic areas are most exposed, as, for
 28    instance, when they are doing cartwheels”).
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   1 head—with no emphasis on the genitals, whether through zooming, cropping, or
   2 secret camera placement. Perkins, 850 F.3d at 1122 (holding genitals were not the
   3 focal point; “Because of the angle, [the child’s] head and torso predominate the
   4 image.”).5
   5            Second, the Album Cover does not position the genitals in the foreground or
   6 the center of the image. The child’s upper body—including his head, face, arms, and
   7 chest—are in the foreground of the Album Cover, along with the dollar bill on the
   8 fishhook. The child’s lower body—including his legs and genitals—are in the
   9 background of the Album Cover. Because of the child’s natural prone position and
 10 angle of the photograph, his waist and entire pubic region are not visible, as his upper
 11 body obstructs them.
 12             To the extent the child’s genitals are “roughly” in the center of the Album
 13 Cover, that is only because the child is in the center of Album Cover. As explained
 14 above, the Album Cover is not a closeup or zoomed image of the child’s body, much
 15 less his genitals, which places the genitals at the center of image. Rather, there is as
 16 much, if not more, negative space on the Album Cover as positive space. Moreover,
 17
       5
 18      Villard, 885 F.2d at 123-24 (holding genitals were not the focal point; “If the
       photographs showed the boy’s body from head to knees, they may have constituted
 19    closeup photographs of the boy’s body, but would seem not to constitute closeup
 20    photographs of the boy’s genitals. Moreover, simply because the boy had a partial
       erection does not necessarily mean that the erection was the focus of the
 21    photograph.”); cf. United States v. Schuster, 706 F.3d 800, 807 (7th Cir. 2013)
 22    (holding genitals were the focal point; “[Defendant] does not dispute that the boy’s
       genitalia are shown but his head is not, which undermines his argument that the photo
 23    is of the same ilk as common photos showing kids playing in a bathtub.”); Brown,
 24    579 F.3d at 681 (“The fact that the photographs do not include the girls’ heads is odd
       and repeated, and when considered together with the focus on the girls’ pubic area,
 25    suggests that there may have been an inappropriate or lascivious focus.”); see also
 26    United States v. Donoho, 76 F.4th 588, 598 (7th Cir. 2023) (“[E]xcluding the face and
       head of the photo’s subject and focusing instead on the genitals … as many of
 27    [defendant’s] images did, can alter significantly the relationship between image and
 28    depicted conduct.”).
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   1 there is no dispute that elements of the Album Cover (not including the image of the
   2 baby) are altered to include additional imagery—the dollar bill on the fishhook in the
   3 top right of the image and the names of the Band and album in the bottom left of the
   4 image—which draws attention away from center of the Album Cover, not toward it,
   5 such that the child’s body, except for his face and outstretched hand, is not its focal
   6 point.
   7            Third, based on the angle, only a partial view of the genitals is visible. Perkins,
   8 850 F.3d at 1128 (noting that the child did not “have her open legs in the foreground”
   9 as in Dost). This is in stark contrast to cases where a child’s “pubic area is in the
 10 foreground,” cf. Dost, 636 F. Supp. at 833, or where the defendant’s hand is shown
 11 “tilting [the child’s] penis toward the camera, apparently ensuring that it was
 12 prominent.” Torres, 894 F.3d at 312. And Plaintiff’s genitals are further de-
 13 emphasized by the lighting: the natural light source lighting appears at the top of the
 14 image, accentuating the child’s arms and face, while his genitals are positioned in the
 15 darker, bottom half of the image, in the shadow cast by his body. Perkins, 850 F.3d
 16 at 1122 (noting that the head and torso, which predominate the image, “cast a shadow
 17 on the genital area, which is pictured in the far bottom right-hand corner”).6
 18             In sum, the focal point analysis favors a finding that the Album Cover is not
 19 child pornography.
 20                   5.     The Album Cover Does Not Depict a Willingness to Engage
                             in Sexual Activity or Sexual Coyness
 21
 22             Because infants cannot express sexual coyness or a willingness to engage in
 23 sexual activity—whether spontaneously or through coaching—this factor does not
 24
 25
       6
 26  See also Amirault, 173 F.3d at 33 (“[T]he lighting of the photograph is not primarily
    directed at the genital region.”); cf. Stewart, 729 F.3d at 522 (“[T]he original images
 27 had been brightened with photo-editing software to such an extent that it distorted the
 28 background and made the genitalia of the naked children more visible.”).
       604431188.2                                  14
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   1 apply to the Album Cover. Dost, 636 F. Supp. at 832 (“Sexual coyness is an
   2 expression outside the young child’s range of experience.”); Brown, 579 F.3d at 681
   3 (“Moreover, whether the depiction suggests ‘sexual coyness or a willingness to
   4 engage in sexual activity,’ is not applicable given the age of the toddlers.”).
   5                  6.    There Was No Sexual Motive or Intent to Elicit Sexual
                            Response
   6
   7            As to the final factor, “the apparent motive of the photographer and intended
   8 response of the viewer,” both also show that this image is not child pornography.
   9 Boam, 69 F.4th at 610. The undisputed evidence establishes that the photographer of
 10 the Album Cover and his assistants—the child’s parents—were not motivated by a
 11 sexual interest in the child or children generally. Nor did they intend to capture an
 12 image sexually gratifying to viewers. Rather, the photographer captured an innocent
 13 image of a child for the Album Cover, which in turn was intended to convey a social,
 14 political, and artistic message to consumers and listeners, regarding the tension
 15 between capitalism and art and the Band’s own embodiment of this tension by signing
 16 on to a major label. In this context, there is zero evidence that anyone intended to
 17 produce child pornography. Schuster, 706 F.3d at 807 (“[I]n some circumstances, the
 18 intent and motive of the photographer, by putting the images in context, place an
 19 important gloss on whether the relevant factors point to lasciviousness”).
 20             To determine the photographer’s motive and intent, the Ninth Circuit considers
 21 whether there is evidence of the photographer’s sexual attraction to children generally
 22 and/or the child photographed specifically. Boam, 69 F.4th at 611 (“Adding to the
 23 ‘intent’ or ‘design’ of the videos … evidence reflected [defendant’s] sexual interest
 24 in [the child]; [the child] testified that [defendant] attempted to rape her a few months
 25 after the videos were recorded and that he did rape her a few months after that.”).
 26 Such evidence exists when the photographer collects child pornography or has made
 27 statements suggesting he took the photograph at issue for a sexual purpose. See
 28 Schuster, 706 F.3d at 808 (“The evidence was plentiful that [defendant] collected
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   1 child pornography (he called it an ‘addiction to child pornography’) and had a sexual
   2 interest in young boys. That sexual interest sheds light on why [defendant] took the
   3 photograph of a nude boy’s genitals, and whether the image is sexually suggestive
   4 rather than, as [defendant] argues, some sort of innocent mistake.”). There is no
   5 evidence here that anyone involved with creating the Album Cover was a child
   6 pornographer or was sexually attracted to Plaintiff.
   7            The Ninth Circuit also considers whether the image was stored with other
   8 sexually explicit material or uploaded to platforms used to transmit child
   9 pornography. Overton, 573 F.3d at 689 (“[T]he district court properly considered
 10 these additional illicit photographs as evidence dispelling any notion that the March
 11 2005 images were created for innocent artistic or educational reasons.”); see also
 12 Wallenfang, 568 F.3d at 659 (holding defendant’s publication of pictures in a
 13 newsgroup known to be used by people interested in viewing and trading child
 14 pornography gave jury reasonable grounds to find defendant sought to create a sexual
 15 response in the newsgroup’s viewers.); Larkin, 629 F.3d at 185 (same). That did not
 16 happen here.
 17                                              ***
 18             Having exhaustively researched all of the case law, including on the Dost
 19 factors, Defendants can say clearly and definitively: no case ever has found an
 20 analogous photo with a similar context to be child pornography.
 21             The Dost factors are not exhaustive, and the Court should consider the full
 22 context and all relevant facts. In this case, the context is especially important. The
 23 history of the Album Cover provides significant context of how the image has been
 24 viewed and interpreted through the years. From all of this, it is clear that the notion
 25 that the image is child pornography is absurd.
 26             First, the broad commercial distribution of the photograph in retail stores is
 27 entirely contradictory to the way child pornography is generally distributed. Child
 28 pornography is shared in secret, in places such as chat rooms and the dark web. The
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   1 history of this image shows the opposite. It has sold forty million copies. It is
   2 available at retail stores worldwide. It is available with a simple Google search online.
   3 For this image to be child pornography, it would require a finding that the individuals
   4 involved, revered musicians, a respected photographer and art director, and numerous
   5 music executives, knowingly pulled the wool over the eyes of retail store owners and
   6 online distributors worldwide for over thirty years and had them sell this image of
   7 child pornography to forty million people. It would also require a finding that those
   8 individuals risked significant jail sentences, given the severe penalties for child
   9 pornography offenses, to do so.
 10            Second, the number of people who possess copies of this image from having
 11 bought the album is entirely contrary to the image being child pornography.
 12 Accepting Plaintiff’s argument as true, it would mean that tens of millions of people
 13 possess child pornography. There can be no dispute that most people are repulsed
 14 and appalled by child pornography. It is difficult to find fair jury pools because jurors
 15 have such a visceral reaction to it. Thus, it defies logic to believe so many individuals
 16 would possess this image if it were, as Plaintiff claims, child pornography.
 17            Third, despite the almost ubiquitous presence of this image, no law
 18 enforcement agency ever investigated it or the individuals involved.                   The
 19 overwhelming majority of the Dost cases arise in the context of law enforcement
 20 actions. That makes sense because law enforcement is, and is expected to be, vigilant
 21 in the pursuant of child pornography. Here, it is telling that no law enforcement
 22 agency has ever investigated this image or those involved. When Plaintiff, after filing
 23 this case, tried to refer it to law enforcement, he was rejected. (SUF ¶¶ 53-54 (JA at
 24 389:11-390:8; JA at 387:20-388:15).) The simplest explanation for this is the right
 25 one—no one investigated it because it is so clearly not child pornography.
 26            Fourth, the Dost factors do not fully take into account that both of Plaintiff’s
 27 parents were at the photoshoot and the photo was taken by their close friend. Both
 28 parents and the photographer adamantly denied any sexual interest or intent.
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   1 Although there unfortunately are instances in which parents subject their own children
   2 to horrible abuses, the entirety of the record shows this case is not one of them. The
   3 record reflects that the parents brought their child to a public pool for a photoshoot
   4 for an album cover shot by a close family friend. Plaintiff would either need to assert,
   5 with no basis, that his parents are liars or that they unknowingly watched, and
   6 participated, while their child was abused (and then allowed that abuse to be sold
   7 broadly over decades). Neither argument has any support in the record.
   8            Fifth, Plaintiff has spent most of his life embracing, and profiting from, the
   9 celebrity that came from this cover. (SUF ¶¶ 48-51 (JA at pp. 400-404; JA at 371:9-
 10 372:13; JA at 372:13-373:4; 372:6-373:11; JA at pp. 405-406; JA at 369:9-370:5; JA
 11 at 375:11-24; 376:18-24; 377:20-22; JA at 381:21-382:7; 383:6-384:2; JA at pp. 407-
 12 409).) Victims at times may behave in counter-intuitive ways. However, in this case,
 13 the Court should consider Plaintiff’s conduct over the last thirty years. When viewed
 14 with all of the facts, it is clear again that the simplest explanation is also the correct
 15 explanation: Plaintiff has behaved this way because he is not a victim. This lawsuit
 16 is just Plaintiff’s latest attempt to profit from his photo on the Album Cover.
 17             In sum, viewing the Album Cover as a whole, guided by common sense, the
 18 six-factor Dost test, and the unique context of this case, the Album Cover is clearly
 19 and unequivocally not child pornography.             The Court should grant summary
 20 judgment.
 21             B.    Plaintiff’s Response
 22                   1.    Defendants’ Version of Undisputed Facts do not Sufficiently
                            Support an Order Granting Summary Judgment
 23
                A nonmoving party is “entitled to a denial of the motion for summary
 24
       judgment where the movant’s papers are insufficient on their face or themselves
 25
       demonstrate the existence of a material issue of fact.” Hamilton v. Keystone
 26
       Tankship Corp., 539 F.2d 684, 686 (9th Cir. 1976) citing Island Equipment Land
 27
       Co. v. Guam Eco. Dev. Auth., 474 F.2d 753 (9th Cir. 1973); Advisory Note of 1963
 28
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   1 to Subdivision (e), Rule 56. Defendants’ Motion for Summary Judgment clearly
   2 demonstrates that the parties dispute the material fact of whether the Album Cover
   3 constitutes child pornography.
   4                  2.     Defendants Fail to Meet Their Burden in Showing a Lack of
                             Evidence in Support of Plaintiff’s Claims
   5
                Not only do factual disputes clearly exist in this matter, but the undisputed
   6
       facts presented by the Defendants also do not sufficiently support an order granting
   7
       Summary Judgment for the Defendants. The Defendants in this case bear the initial
   8
       burden of demonstrating the absence of a genuine issue of material fact through
   9
       pleadings, depositions, answers to interrogatories, admissions in the record,
 10
       affidavits, and any other form of evidence that would be admissible at trial. FRCP
 11
       56(c); Celotex Corp. v. Catrett, 477 U.S. 317, 322-23 (1986).
 12
                Concerning Plaintiff’s Masha’s Law claims, the Defendants, as the moving
 13
       party, must show a lack of evidence supporting the Plaintiff’s claims because the
 14
       Plaintiff, as the nonmoving party, has the burden of proof at trial as to the elements
 15
       of those claims. See Celotex, 477 U.S. at 324-25. “In a summary judgment motion,
 16
       the Court does not weigh the evidence or the credibility of witnesses rather “the
 17
       nonmovant’s version of any disputed issue of fact is presumed correct.” Med. Lab’y
 18
       Mgmt. Consultants v. Am. Broad. Companies, Inc., 30 F. Supp. 2d 1182, 1187 (D.
 19
       Ariz. 1998), aff’d, 306 F.3d 806 (9th Cir. 2002) quoting Eastman Kodak Co. v.
 20
       Image Technical Serv., Inc., 504 U.S. 451, 458, 112 S.Ct. 2072, 119 L.Ed.2d 265
 21
       (1992).
 22
                The Defendants ultimately failed to meet that threshold burden and instead
 23
       focus their arguments on a purely factual dispute. Instead, the Defendants cite facts
 24
       that support the Plaintiff’s claims. The Defendants concede that the parties dispute
 25
       whether the Album Cover constitutes child pornography under 18 U.S.C. 2256(8)
 26
       and incorrectly contend that this is an issue of law. This dispute is instead a genuine
 27
       issue of material fact. A dispute is genuine and material, as is the case here, when
 28
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   1 there is evidence sufficient to show the existence of all elements of their claims or
   2 defenses at trial. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249-50 (1986).
   3 The summary judgment standard applies the evidentiary standard that would apply
   4 at trial, which is a preponderance of the evidence for most civil cases. Id. at 477
   5 U.S. at 252. “On summary judgment, the proper task is not to weigh conflicting
   6 evidence, but rather to ask whether the non-moving party has produced sufficient
   7 evidence to permit the fact finder to hold in his favor.” Rosen v. Glob. Net Access,
   8 LLC, No. CV 10-2721-VBF(EX), 2011 WL 13127549, at *2 (C.D. Cal. Apr. 25,
   9 2011) quoting Ingram v. Martin Marietta Long Term Disability Income Plan for
 10 Salaried Employees of Transferred GE Operations, 244 F.3d 1109, 1114 (9th Cir.
 11 2001).
 12                  3.     Plaintiff Sufficiently Met His Burden in Showing That
                            Summary Judgment is Improper
 13
               The Plaintiff, as the nonmoving party, has the burden of identifying, with
 14
      reasonable particularity, the evidence that precludes summary judgment. Keenan v.
 15
      Allen, 91 F.3d 1275, 1279 (9th Cir. 1996). “The inquiry performed is the threshold
 16
      inquiry of determining whether there is the need for a trial—whether, in other
 17
      words, there are any genuine factual issues that properly can be resolved only by a
 18
      finder of fact because they may reasonably be resolved in favor of either party.”
 19
      Liberty Lobby, Inc., 477 U.S. at 250-52. Contrary to the Defendants’ motion, the
 20
      Plaintiff has presented “a sufficient disagreement to require submission to a jury,”
 21
      and this case is not “so one-sided that one party must prevail as a matter of law.” Id.
 22
               To withstand summary judgment, the non-moving party (1) must make a
 23
      showing sufficient to establish a genuine issue of fact with respect to any element
 24
      for which it bears the burden of proof; (2) must show that there is an issue that may
 25
      reasonably be resolved in favor of either party; and (3) must come forward with
 26
      more persuasive evidence than would otherwise be necessary when the factual
 27
      context makes the non-moving party’s claim implausible. Brit. Motor Car
 28
      604431188.2                                 20
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   1 Distributors, Ltd. v. San Francisco Auto. Indus. Welfare Fund, 882 F.2d 371, 374
   2 (9th Cir. 1989) citing California Arch. Bldg. Prod. v. Franciscan Ceramics, Inc., 818
   3 F.2d 1466, 1468 (9th Cir.1987), cert. denied, 484 U.S. 1006, 108 S.Ct. 698, 98
   4 L.Ed.2d 650 (1988). Assuming arguendo that the Defendants meet the initial
   5 burden, the Plaintiff has nonetheless come forward with evidence showing that he
   6 can meet each of the elements of his claims at trial. Further, there is indeed a
   7 genuine and material issue of fact that the Court must submit to a jury. Finally, the
   8 Plaintiff’s evidence persuasively supports that his claims are plausible.
   9                  4.     Plaintiff Provided Sufficient Evidence to Establish that the
                             Album Cover Meets Each Element of His Masha’s Law
 10                          Claims
 11             The Plaintiff’s claims arise under 18 U.S.C. 2255, which provides a civil
 12 remedy for victims of a defendant’s violation of 18 U.S.C. 2252. Specifically, 18
 13 U.S.C. 2255 provides in pertinent part:
 14             Any person who, while a minor, was a victim of a violation of section
                [...] of this title and who suffers personal injury as a result of such
 15
                violation, regardless of whether the injury occurred while such person
 16             was a minor, may sue in any appropriate United States District Court
                and shall recover the actual damages such person sustains or liquidated
 17
                damages in the amount of $150,000, and the cost of the action,
 18             including reasonable attorney’s fees.
                Given that this case has been bifurcated into two phases for liability and
 19
       damages, the Plaintiff need not prove the personal injury element of his claims.
 20
       Nevertheless, victims of violations of child pornography offenses suffer personal
 21
       injury as a matter of law. See generally Paroline v. United States, 572 U.S. 434
 22
       (2014); Doe v. Boland, 698 F.3d 877 (6th Cir. 2012); Doe v. Bruno, 2017 WL
 23
       1424298, at *3 (D. Conn. Apr. 20, 2017); Amy v. Curtis, No. 19-CV-02184-PJH,
 24
       2020 WL 6271046, at *5 (N.D. Cal. Oct. 26, 2020).
 25
                Each element of a section 2255 claim is clearly met in this case. When
 26
       bringing suit under Masha’s Law, “[p]laintiffs must prove that they are victims of
 27
       defendant’s crime which, in the court’s view, requires them to prove that (1) they are
 28
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   1 pictured in CSAM (identity), (2) the CSAM depicts sexually explicit conduct as
   2 defined by Title 18 U.S.C. § 2256 (sexual content), and (3) the CSAM was found in
   3 defendant’s possession.” Amy v. Curtis, No. 19-CV-02184-PJH, 2021 WL 4820594,
   4 at *1 (N.D. Cal. Mar. 8, 2021).
   5            The Plaintiff’s ability to prove the first and third elements is not even
   6 disputed. Regarding the first element, the Defendants do not dispute, and the
   7 Plaintiff provided sufficient evidence to show that Spencer is who he says he is: the
   8 person depicted on the Nevermind album cover. The declarations and amended
   9 declarations provided in this case are sufficient to prove the Plaintiff’s identity. See
 10 Perfect 10, Inc. v. Cybernet Ventures, Inc., 213 F. Supp. 2d 1146, 1153-54 (C.D. Cal.
 11 2002). In United States v. Tank, 200 F.3d 627, 630 (9th Cir. 2000), the Ninth Circuit
 12 addressed the admissibility of certain chat room logs in a criminal prosecution
 13 against a child pornography suspect, where the chat room logs were authenticated
 14 by testimony that the chat room logs accurately represented the conversations
 15 among members. The court held that authentication by testimony need only support
 16 a finding by a reasonable juror that the matter in question is accurate or that it is
 17 what its proponent claims it to be. Id.
 18             Furthermore, as to the third element of the Plaintiff’s claims, the Defendants
 19 do not dispute, and Plaintiff provided sufficient evidence to show, that the
 20 Nevermind album cover was in the Defendants’ possession and that the Defendants
 21 knowingly possessed, transported, reproduced, advertised, promoted, presented,
 22 distributed, provided, sold and obtained the Nevermind album cover. “Even if the
 23 allegations in the complaint are sufficient only to state that [the Defendants]
 24 attempted to violate [predicates offenses] that, too, would be sufficient to support
 25 recovery under Masha’s Law.” N.S. v. Rockett, No. 3:16-CV-2171-AC, 2018 WL
 26 6920125, at *5 (D. Or. Oct. 19, 2018), report and recommendation adopted, No.
 27 3:16-CV-2171-AC, 2018 WL 6920112 (D. Or. Nov. 28, 2018). Since an attempt is
 28 “punished with the same stringency as a completed violation. Through
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   1 incorporation, therefore, even an attempted violation […] would on its face
   2 constitute a predicate offense sufficient to support a claim under Masha’s Law,
   3 which requires only a violation of any one of [fourteen predicate offenses].” Id.
   4            The lack of a criminal conviction in this case is inconsequential. In this
   5 regard, “§ 2255 does not require a defendant to have been criminally convicted of
   6 the predicate offense.” E.M. v. Varsity Brands, LLC, No. 2:22-CV-09410-ODW
   7 (ASX), 2024 WL 2808183, at *6 (C.D. Cal. May 31, 2024) citing Rockett, No. 3:16-
   8 CV-2171-AC, 2018 WL 6920125, at *5 (D. Or. Oct. 19, 2019). “It is enough that the
   9 civil claimant proves by a preponderance of the evidence that the defendant violated
 10 the enumerated statute.” Id., citing Prewett v. Weems, 749 F.3d 454, 458 (6th Cir.
 11 2014))); Doe v. Schneider, 667 F. Supp. 2d 524, 529–30 (E.D. Pa. 2009) (requiring
 12 only that a proper predicate statute violation is alleged in the complaint, along with
 13 supporting facts).
 14             Similarly, the legislative history of Masha’s Law supports a determination of
 15 liability absent a criminal conviction. Rockett, 2018 WL 6920125, at *5 (citing
 16 Smith v. Husband, 376 F. Supp. 2d 603, 611–12 (E.D. Va. 2005) (examining §
 17 2255’s legislative history to conclude Congress had intended the statute to provide a
 18 remedy for victims even absent a criminal conviction); Doe v. Liberatore, 478 F.
 19 Supp. 2d 742, 755 (M.D. Pa. 2007) (adopting Smith’s Congressional findings);
 20 Cisneros v. Aragon, 485 F.3d 1226, 1232 (10th Cir. 2007) (citing Smith and
 21 “assum[ing] that a criminal conviction is not necessary for a defendant to face civil
 22 liability under” § 2255)).
 23             In sum, the Defendants’ motion for summary judgment concedes the issues of
 24 identity and possession and addresses only the issue of sexual content, the second
 25 element of the Plaintiff’s Masha’s Law claims. As explained in detail below, the
 26 Plaintiff provided sufficient evidence in support of the second element of his
 27 Masha’s Law claims and has introduced probative evidence creating genuine dispute
 28 of material fact as to whether the Nevermind album cover constitutes child
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   1 pornography. The Plaintiff’s claim for an image that is actively possessed,
   2 distributed, sold, and profited from the moment of creation to the present day “…is
   3 consistent with Congress’s remedial scheme for child victims[.]” Doe v. Hesketh,
   4 828 F.3d 159, 168 (3rd Cir., 2016).
   5                  5.     Plaintiff Provided Sufficient Evidence to Establish a Genuine
                             Issue of Material Fact
   6
                 Even though the Defendants failed to meet their burden of showing a lack of
   7
       evidence, the Plaintiff has met his burden by presenting evidence of a genuine
   8
       dispute of material fact. See Friedman v. Live Nation Merch., Inc., 833 F .3d 1180,
   9
       1188 (9th Cir. 2016) (internal citations omitted). The issue of whether the
 10
       Nevermind album cover constitutes sexual content and a lascivious exhibition of the
 11
       Plaintiff’s infant genitals “raises questions of material fact with respect to secondary
 12
       meaning that may not be disposed of by the court alone.” Clicks Billiards, Inc. v.
 13
       Sixshooters, Inc., 251 F.3d 1252, 1263-64 (9th Cir. 2001). As described in detail
 14
       below, “whether the [material] fall[s] within the statutory definition [of sexually
 15
       explicit conduct] is a question of fact[.]” United States v. Overton, 573 F.3d 679, 688
 16
       (9th Cir. 2009) (citing United States v. Wiegand, 812 F.2d 1239, 1244 (9th Cir.
 17
       1987)). Especially where the image in question clearly depicts a display of a minor’s
 18
       genitals, this analysis is the “proper role for a trier of fact; it is not the role of a
 19
       district court at the summary judgment stage where the issue is whether a triable
 20
       issue of fact even exists.” Id; See Summers v. A. Teichert & Son, Inc., 127 F.3d 1150,
 21
       1152 (9th Cir. 1997) (“The court must not weigh the evidence or determine the truth
 22
       of the matters asserted but must only determine whether there is a genuine issue for
 23
       trial.”). As explained further below, only a finder of fact can resolve whether the
 24
       Plaintiff’s image on the Nevermind album cover constitutes child pornography.
 25
                      6.     Plaintiff Provided Sufficient Evidence to Overcome
 26                          Implausibility
 27             Finally, the Plaintiff provided sufficient evidence in support of his claims to
 28 persuade the finder of fact that his claims are plausible. For these reasons and those
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   1 stated throughout, the Court should deny the Defendants’ motion for summary
   2 judgment and allow this matter to proceed to trial. The Plaintiff has sufficiently
   3 introduced “‘significant probative evidence tending to support the complaint.’”
   4 Rosen v. Glob. Net Access, LLC,, No. CV 10-2721-VBF(EX), 2011 WL 13127549,
   5 at *2 (C.D. Cal. Apr. 25, 2011) quoting Fazio v. City & County of San Francisco,
   6 125 F.3d 1328, 1331 (9th Cir. 1997).
   7                 7.      Whether the Album Cover Constitutes Child Pornography is
                             a Genuine Dispute of Material Fact
   8
                             (a)   Plaintiff Provided Sufficient Evidence to Establish that
   9                               the Album Cover meets the Sexual Content Element of
                                   his Masha’s Law Claims
 10
              The Ninth Circuit has held that it is a “factual determination on whether any
 11
       of the composite images are child pornography.” United States v. Adamson, 411 F.
 12
       App’x 17, 18 (9th Cir. 2010) (emphasis added). The image on the Nevermind album
 13
       cover constitutes “child pornography” as defined by 18 U.S.C. 2256(8) and
 14
       2256(2)(A)(v). To be sure, 18 U.S.C. 2256(8) defines “Child Pornography”, in
 15
       pertinent part, as:
 16
 17           any visual depiction, including any photograph, film video, picture, or
              computer or computer-generated image or picture, whether made or
 18           produced by electronic, mechanical or other means, of sexually
 19           explicitly conduct, where -- (A) the production of such visual depiction
              involves the use of a minor engaging in sexually explicit conduct;
 20
 21           The image of Spencer on the cover of the Nevermind album is a “visual
 22 depiction,” satisfying the first element. The issue is whether the second element is
 23 also satisfied—that the image depicts “sexually explicit[] conduct.” 18 U.S.C.
 24 2256(8)(A). Indeed, 18 U.S.C. 2256(2)(A) defines “sexually explicit conduct,” in
 25 pertinent part, as “actual or simulated -- … (v) lascivious exhibition of the genitals,
 26 or pubic area of any person.” Because the Nevermind album cover image exhibits
 27 Spencer’s genitals or pubic, the trier of fact must make the necessary inquiry as to
 28 whether the image constitutes a lascivious exhibition of his genitals. “Lascivious” is
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   1 not defined by statute but has been discussed and interpreted by courts over the
   2 years.
   3
              As the Defendants concede, the seminal case on the meaning of “lascivious”
   4
       is United States v. Dost, 636 F.Supp. 828 (S.D. Cal. 1986). In Dost, the defendant
   5
       was indicted for using a minor to engage in sexually explicit conduct to produce
   6
       visual depictions of such conduct, knowing receipt or distribution of visual
   7
       depictions of a minor engaging in sexually explicit conduct, and conspiracy. The
   8
       court was tasked with deciding on stipulated facts whether the images constituted
   9
       “child pornography” and in particular whether they were “lascivious exhibitions.”
 10
 11           The court noted that in 1984, Congress amended the existing law about child

 12 pornography by enacting the Child Protection Act of 1984. Among other things, the
 13 Act substituted the term “lascivious” in place of “lewd.” Senator Spector explained
 14 the reason for the substitution: “Lewd” has in the past been equated with “obscene”;
 15 this change is thus intended to make it clear that an exhibition of a child’s genitals
 16 does not have to meet the obscenity standard to be unlawful.” 130 Cong. Rec.
 17 S3510, S3511 (daily ed. March 30, 1984). This change “conformed federal law to
 18 the Supreme Court’s holding in New York v. Ferber, 458 U.S. 747 (1982) wherein
 19 the court affirmed that child pornography is outside the protection of the first
 20 amendment even where does not meet the “obscene” standard enunciated in Miller
 21 v. California, 14 U.S. 15 (1973). “The purpose behind enactment of the various
 22 protective laws known commonly as the ‘kiddie porn’ laws is to protect children
 23 from the harmful effects of this type of sexual exploitation.” Dost, 636 F. Supp. at
 24 831.
 25           Quoting Justice O’Connor’s concurrence in Ferber, 458 U.S. at 774-75, the
 26 Dost court wrote:
 27
             A 12-year-old child photographed while masturbating surely suffers the
 28          same psychological harm whether the community labels the photograph
    604431188.2                               26
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   1         ‘edifying’ or ‘tasteless.’ The audience’s appreciation of the depiction is
   2         simply irrelevant to [the state’s] asserted interest in protecting children
             from psychological, emotional, and mental harm.
   3
   4 The Dost Court continued:
   5
             Congress’ intent, as evidenced by the change to subsection (E)
   6
             terminology and other changes, was to broaden the scope of the exiting
   7         “kiddie porn” laws. Congress believed that the term “lewd” used in
   8         subsection (E) was too restrictive since it had been closely associated
             with the more stringent standard of obscenity. Dost, 638 F. Supp. at
   9
             831.
 10
 11 The Dost court then proceeded to set forth a non-exclusive and non-exhaustive list
 12 of factors that a trier-of-fact should consider in determining whether the visual
 13 image of a minor constitutes “lascivious exhibition of the genitals or pubic area”:
 14          (1) whether the focal point of the visual depiction is on the child’s
 15             genitals or public area;

 16          (2) whether the setting of the visual depiction is sexually suggestive,
 17             i.e., in a place or pose generally associated with sexual activity;

 18
             (3) whether the child is depicted in an unnatural pose or in
 19             inappropriate attire, considering the age of the child;
 20
 21          (4) whether the child is fully or partially clothed, or nude;
 22
 23          (5) whether the visual depiction suggests sexual coyness or a
                willingness to engage in sexual activity;
 24
 25          (6) whether the visual depiction is intended or designed to elicit a
 26             sexual response in the viewer.”
 27
       Dost at 832.
 28             The court noted that “a visual depiction need not involve all of these factors
       604431188.2                                 27
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   1 to be a ‘lascivious exhibition of the genitals or pubic area.’ The determination will
   2 have to be made based on the overall content of the visual depiction, taking into
   3 account the age of the minor.” Id. Applying this muti-factor test, the Dost court
   4 found the images of the 14-year-old and 10-year-old girls, both posing alone and not
   5 engaging in sexual activity, to nevertheless constitute child pornography. In both
   6 cases, the focal point of images was on the girl’s genital area and in unusual poses
   7 for their ages, suggesting a willingness to engage in sexual activity. Dost at 833.
   8                        (b)    Reasonable Juries Could Differ as to Whether the
                                   Album Cover Constitutes Child Pornography
   9
                The overwhelming weight of the caselaw in this district supports the
 10
       determination that the Nevermind album cover constitutes child pornography under
 11
       Dost. In Wiegand, 812 F.2d 1239, the Ninth Circuit affirmed the holding in Dost, but
 12
       did not ratify all the Dost court’s analysis about whether the photographs constituted
 13
       a “lascivious exhibition of the genitals” and hence constituted child pornography
 14
       under sections 2251 and 2252. The court first noted that under 2252(E), the images
 15
       do not need to depict sexual activity or willingness by the subject to engage in it.
 16
       “The crime punished by the statutes against the sexual exploitation of children…
 17
       does not consist in the cravings of the person posing the child or in the cravings of
 18
       his audience. Private fantasies are not within the statute’s ambit. The crime is the
 19
       offense against the child – the harm ‘to the physiological, emotional, and mental
 20
       health’ of the child…the ‘psychological harm…the invasion of the child’s
 21
       vulnerability’…. These harms collectively are the consequential damages that flow
 22
       from the trespass against the dignity of the child.” Wiegand, 812 F.2d at 1245
 23
       (citations omitted). The Wiegand court affirmed the district court’s finding that the
 24
       pictures of girls ten and 17 years old not engaged in sexual activity nonetheless
 25
       constituted child pornography as defined by statute because they exhibited the girls’
 26
       genitals “lasciviously-- that is, so presented by the photographer as to arouse or
 27
       satisfy the sexual cravings of a voyeur.” Id. at 1244. “[Any] visual depiction need
 28
       604431188.2                                28
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   1 not involve all of these factors to be a ‘lascivious exhibition of the genitals or pubic
   2 area.’” It matters whether “[t]he emphasis on the genitals is designed to elicit a
   3 sexual response in the viewer, albeit perhaps not the “average viewer,” but perhaps
   4 in the pedophile viewer.” Id.
   5            Here, Spencer’s image on the Nevermind album cover depicting his genitals
   6 plausibly constitutes child pornography under the current case law. First, the focal
   7 point of the picture is on Spencer’s genitals and the photographer positioned the
   8 camera to make Spencer’s genitals appear enlarged. United States v. Wells, 843 F.3d
   9 1251, 1256 (10th Cir. 2016) (“Though Wells did not edit the videos, freeze-frame
 10 particular images from them, or zoom in on [the child], he did not have to do so to
 11 make his stepdaughter’s genitals the focal point of the videos…. By the location and
 12 angle at which Wells positioned the camera, [the child’s] pubic area was exposed
 13 never more than a few feet from the camera[ ]….”).
 14             Second, the setting of the picture is sexually suggestive because the overall
 15 content of the image shows a child underwater, unable to breathe, and who appears
 16 grasping for a dollar like a sex worker. United States v. McCall, 833 F.3d 560, 561
 17 (5th Cir. 2016) held that the “sexually explicit conduct” element was met based on
 18 evidence that the defendant secretly recorded his niece showering in the family’s
 19 shared bathroom. When concluding that the videos depicted lascivious exhibitions,
 20 the court noted documentary evidence supporting this conclusion. Id. at 564.
 21 Likewise, the Plaintiff in this case introduced evidence of Kurt Cobain’s journal
 22 entries.
 23             Third, infants cannot naturally swim, and it is not natural for a four-month-old
 24 infant to be submerged underwater. In the Nevermind album cover image, Spencer is
 25 depicted fully naked, gagged, and dunked underwater in an unnatural pose
 26 considering his age of just 4 months old. Fourth, Spencer is fully nude. The
 27 Defendants fail to dispute this factor adequately, and the additional evidence
 28 supporting the Plaintiff’s claims supports a finding by a reasonable jury that the
       604431188.2                                 29
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   1 image is child pornography. Similarly, courts have held that secretly recorded
   2 videotapes of a teenager “performing her daily bathroom routine,” which resulted in
   3 videos that depicted her when she was nude, were sufficient to support a conviction
   4 for child pornography criminal offenses. United States v. Holmes, 814 F.3d 1246,
   5 1247 (11th Cir. 2016). So too, contrary to the Defendants’ arguments, “a lascivious
   6 exhibition may be created […] even when the original depiction is one of an
   7 innocent child acting innocently.” Id. at 1252. Fifth, the prurient nature of the
   8 picture suggests sexual coyness or a willingness to engage in sexual activity given
   9 the juxtaposition of the dollar bill and the open display of Spencer’s genitals for
 10 consumption by the viewer.
 11            Sixth, the Nevermind album cover image was intended to elicit a sexual
 12 response in the viewer given that Cobain played a role in dictating the contents of
 13 the Nevermind album cover and his own journals detailed sexually explicit and
 14 sadistic images of children. Furthermore, the album “Nevermind” includes a song
 15 that details the abduction and rape of a minor child, and Cobain noted that “closeted
 16 pedophiles” may view the Nevermind album cover image for sexual
 17 gratification. Under this sixth factor, the “apparent motive of the photographer and
 18 intended response of the viewer are relevant” and “inform[ ] the meaning of
 19 ‘lascivious.’ ” United States v. Arvin, 900 F.2d 1385, 1389, 1391 (9th Cir. 1990); see
 20 also Overton, 573 F.3d at 689 (concluding that evidence demonstrating that images
 21 were “intended and designed to elicit a sexual response in the voyeur” supported a
 22 finding of lasciviousness).
 23            The vast majority of relevant case law supports the plausibility of the
 24 Plaintiff’s claims. In United States v. Spoor, 904 F.3d 141, 148-50 (2d Cir. 2018), for
 25 example, the Second Circuit decided a jury could reasonably find that secretly
 26 recorded videos of boys urinating in a toilet and changing into swimsuits were
 27 lascivious exhibitions of the boys’ genitals. Concerning the sixth Dost factor, the
 28 court in Spoor relied in part on evidence of the defendant’s prior conduct. Id. The
      604431188.2                                 30
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   1 Tenth Circuit reached a similar conclusion in Wells, 843 F.3d at 1254–57, based on
   2 evidence that a defendant intentionally aimed a camera at his stepdaughter’s shower
   3 and saved the nude footage of her. Because “lasciviousness is “not a characteristic of
   4 the child,” it was “of no import” that the girl’s behavior in the videos was
   5 “consistent with common bathroom activities.” Id. at 1255.
   6            Ignoring these analogous cases, the Defendants rely upon the Fifth Circuit’s
   7 decision in United States v. Steen, 634 F.3d 822 (5th Cir. 2011). In that case, the
   8 Fifth Circuit reversed a conviction where the defendant had secretly filmed a
   9 sixteen-year-old girl in a tanning bed. The resulting video showed the girl’s pubic
 10 region for 1/15th of the length of the video in the corner of the frame. Most
 11 significantly, the focal point of the video was not the girl’s genitals. Unlike in Steen,
 12 the display of Spencer’s genitals is prominent and distinctly captured. In citing
 13 Steen, the Defendants overlook McCall, 833 F.3d at 561, discussed above. In
 14 Osborne v. Ohio, 495 U.S. 103, 104 (1990), the Supreme Court recognized that one
 15 of the harms of child pornography is that it “may be used by pedophiles to seduce
 16 other children.” In this case, the Plaintiff provided sufficient evidence that the
 17 Defendants knew and contemplated the fact that pedophiles may access the
 18 Nevermind album cover in their discussions relating to its sale and distribution at
 19 Walmart and on Facebook.
 20             Finally, the Defendants’ reliance on United States v. Perkins, 850 F.3d 1109,
 21 1121 (9th Cir. 2017) is unpersuasive and misplaced. The facts of this case are clearly
 22 distinguishable from Perkins because the Defendants here did not cover Spencer’s
 23 genitals on the Nevermind album cover. The Ninth Circuit held in Perkins that a
 24 reasonable jury could not find that a fully nude selfie taken by a teenage girl
 25 depicted a lascivious exhibition of the girl’s genitals because the child’s genital area
 26 only appeared in the bottom corner of the image and relevant image in question had
 27 a dark shadow covering the girl’s genitals. Id. Indeed, the Perkins case supports the
 28 determination that where a child’s “genitals and pubic area were unobstructed and
       604431188.2                                 31
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   1 prominent” an exhibition of the genitals is lascivious. United States v. Boam, 69
   2 F.4th 601, 612 (9th Cir. 2023), cert. denied, 144 S. Ct. 1345, 218 L. Ed. 2d 422
   3 (2024). In Boam, the Ninth Circuit upheld the district court’s finding that “the first,
   4 fourth, and sixth Dost factors could support a reasonable jury’s conclusion that the
   5 videos were lascivious.” Id. at 609.
   6 IV.        ARGUMENT 2: SUMMARY JUDGMENT BASED ON THE FIRST
                AMENDMENT
   7
                A.    Defendants’ Argument: Defendants Are Entitled to Summary
   8                  Judgment Because Liability Would Violate the First Amendment
   9            For the reasons stated above, the undisputed evidence establishes that the
 10 Album Cover does not constitute child pornography under 18 U.S.C. §§ 2251(a) and
 11 2256. This ends the analysis. However, were the Court to hold there is a triable issue
 12 of fact as to whether Album Cover constitutes child pornography under §§ 2251(a)
 13 and 2256, the statutes as applied to the Album Cover would violate the First
 14 Amendment.
 15             No federal court has ever held an image, like the Album Cover, with undisputed
 16 and serious social, political, and artistic value, constitutes child pornography beyond
 17 the protections of the First Amendment. In New York v. Ferber, 458 U.S. 747 (1982),
 18 in rejecting a facial challenge to a state child pornography law, the Supreme Court
 19 acknowledged that a “tiny fraction” of images covered by the child pornography law
 20 may be entitled to First Amendment protection, but held this “tiny fraction” was
 21 insufficient to strike down the law on its face. Id. at 773. In his concurring opinion,
 22 Justice Brennan agreed, but noted the analysis and result would be different where, as
 23 here, the law was in fact applied to “depictions of children that in themselves do have
 24 serious literary, artistic, scientific, or medical value.”         Id. at 776 (Brennan, J.,
 25 concurring). Regarding such an as-applied challenge, Justice Brennan reasoned:
 26             The First Amendment value of depictions of children that are in
                themselves serious contributions to art, literature, or science, is, by
 27
                definition, simply not “de minimis.” See ante, at 3356–3357. At the
 28             same time, the State’s interest in suppression of such materials is likely
       604431188.2                                  32
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   1            to be far less compelling. For the Court’s assumption of harm to the
                child resulting from the “permanent record” and “circulation” of the
   2
                child’s “participation,” ante, at 3355, lacks much of its force where the
   3            depiction is a serious contribution to art or science. The production of
                materials of serious value is not the “low-profile, clandestine industry”
   4
                that according to the Court produces purely pornographic materials.
   5            See ante, at 3356. In short, it is inconceivable how a depiction of a
                child that is itself a serious contribution to the world of art or
   6
                literature or science can be deemed “material outside the protection
   7            of the First Amendment.” See ante, at 3358.
   8
       Id. at 776-777 (emphasis added).
   9
                There can be no doubt that the Album Cover is a work of significant social,
 10
       cultural, and artistic value. The cover art has been named one of the most iconic
 11
       album covers of all time by multiple art and music outlets, including Rolling Stone,
 12
       Billboard, and Linearity, among others. (SUF ¶ 34 (JA at p. 411 ¶ 2).) It is part of
 13
       MoMA’s permanent collection. (SUF ¶ 35 (JA at p. 411 ¶ 2).) Its inclusion in these
 14
       publications and institutions is just one indication of its importance to American
 15
       modern art and culture. The album has also been purchased forty million times, and
 16
       has been and continues to be sold through major outlets worldwide. (SUF ¶¶ 31-33
 17
       (JA at 61:23-25; 67:8-11; 95:24-96:22; 103:4-25; JA at 121:3-15; 124:17-25; JA at
 18
       73:22-74:5).)
 19
                Indeed, it would be an unconstitutional restriction of speech were §§ 2251(a)
 20
       and 2256 read broadly enough to outlaw the Album Cover, which innocently depicts
 21
       child nudity as part of a significant socio-political commentary.
 22
                This was one reason the Supreme Court struck down the Child Pornography
 23
       Prevention Act of 1996 (“CPPA”) in Ashcroft v. Free Speech Coalition, 535 U.S. 234
 24
       (2002). In striking down the CPPA on its face, the Court emphasized that it was
 25
       impermissible to prohibit speech without taking into consideration the serious literary,
 26
       artistic, political, or scientific value of the work. Id. at 246. The Court found that the
 27
       statute would prohibit “the visual depiction of an idea—that of teenagers engaging in
 28
       604431188.2                                 33
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   1 sexual activity—that is a fact of modern society and has been a theme in art and
   2 literature throughout the ages.” Id. at 248. The Court noted the absurdity that would
   3 result if the average person in possession of films that contained underage sex scenes
   4 were punished for possession of child pornography without any inquiry into the
   5 work’s redeeming artistic value. Id. So, too, here. Proscribing the Album Cover
   6 would make criminals of millions of innocent citizens in possession of a culturally
   7 and artistically significant work.
   8            Undoubtedly, an interpretation of §§ 2251(a) and 2256 that proscribes the
   9 Album Cover would raise serious constitutional questions, which militates heavily
 10 against such an interpretation. “[I]t is a cardinal principle” of statutory interpretation
 11 that when a statute raises “a serious doubt” as to its constitutionality, “this Court will
 12 first ascertain whether a construction of the statute is fairly possible by which the
 13 question may be avoided.” Crowell v. Benson, 285 U.S. 22, 62 (1932). As explained
 14 above, such a construction of §§ 2251(a) and 2256 is “fairly possible,” and is in fact
 15 warranted, as applied to the Album Cover.
 16             Defendants are entitled to summary judgment on their constitutional defense.
 17             B.    Plaintiff’s Response
 18                   1.    Defendants Fail to Provide Adequate Notice to the
                            Government of First Amendment Claims
 19
                First and foremost, the Defendants’ First Amendment arguments are
 20
       procedurally improper. Fed. R. Civ. P. 5-1; Civil Local Rule 3-8(a). The Defendants
 21
       have failed to provide adequate notice to the Government on these claims. “Under
 22
       the ‘law of the case’ doctrine, ‘a court is generally precluded from reconsidering an
 23
       issue that has already been decided by the same court, or a higher court in the
 24
       identical case.’” United States v. Alexander, 106 F. 3d 874, 876 (9th Cir.
 25
       1997). (quoting Thomas v. Bible, 983 F.2d 152, 154 (9th Cir.) (cert. denied 508 U.S.
 26
       951, 113 S.Ct. 2443, 124 L.Ed.2d 661 (1993).
 27
 28                   2.    Defendants Fail to Meet Their Burden in Showing Evidence
                            Sufficient for a Directed Verdict on First Amendment Claims
       604431188.2                                34
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   1            As to the merits of the Defendants’ arguments referencing their First
   2 Amendment Affirmative Defense, the Defendants as the moving party also bear the
   3 burden of proof at trial, and they must meet that burden by citing to evidence which
   4 would result in a directed verdict if undisputed at trial. See Int’l Shortstop, Inc. v.
   5 Rally’s, Inc., 939 F.2d 1257, 1264-65 (5th Cir. 1991); Transamerica Premier Life
   6 Ins. Co. v. Guy, 2021 WL 2647021, at *6 (E.D. La. Jun. 28, 2021)). Summary
   7 judgment as to an issue for which the moving party bears the burden of proof should
   8 only be granted where the evidence is such that it “would require a directed verdict
   9 for the moving party.” Sartor v. Arkansas Gas Corp., 321 U.S. 620, 624, 64 S.Ct.
 10 724, 727, 88 L.Ed. 967 (1944). That is not the case here.
 11
                The Defendants’ factual allegations regarding the Plaintiff or his parents
 12
       behavior regarding the Album Cover over the past thirty or more years are
 13
       inconsequential to the determination of whether the image constitutes child
 14
       pornography under the law. Such allegations regarding Plaintiffs own behavior are
 15
       also irrelevant to the issue of liability. Many victims of child pornography offense
 16
       partake in similarly illogical behavior and often, unlike Spencer, play a conscious
 17
       role in creating the child pornography images depicting them. This behavior does
 18
       not erode victim status.
 19
                In providing no evidence which would result in a directed verdict, the
 20
       Defendants fail to meet this burden. Furthermore, the Defendants fail to argue that
 21
       no reasonable juror could find that the Album Cover is child pornography and
 22
       instead ask this Court to decide which is reserved solely for the trier of fact unless
 23
       no reasonable jury could determine otherwise. “If reasonable minds could differ as
 24
       to the import of the evidence, however, a verdict should not be directed.” Wilkerson
 25
       v. McCarthy, 336 U.S. 53, 62, 69 S.Ct. 413, 417, 93 L.Ed. 497 (1949). Thus,
 26
       summary judgment is improper in this case because reasonable minds may differ
 27
 28
       604431188.2                                 35
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   1 about whether the second element of Plaintiff’s Masha’s Law claim regarding sexual
   2 content.
   3                  3.     Child Pornography is not Protected by the First Amendment
                             and Plaintiff’s Claims are Constitutionally Sound
   4
                The Defendants’ constitutional challenges to Masha’s Law in support of their
   5
       Motion for Summary Judgment are merely facial challenges dressed up in as-
   6
       applied challenge clothing. The Defendants’ misplaced reliance on the decision is
   7
       Ashcroft clearly support a challenge to the constitutionality of the statute on its face.
   8
       Ashcroft v. Free Speech Coal., 535 U.S. 234, 257, 122 S. Ct. 1389, 1405, 152 L. Ed.
   9
       2d 403 (2002). The Defendants incorrectly illustrate the holding in Ashcroft which
 10
       struck down a child protection statute because it was not limited only to child
 11
       pornography, obscenity, and unprotected speech, but also included prohibitions on
 12
       potentially harmful but protected speech. Id. Indeed, the CPPA statute in Ashcroft
 13
       was found to be unconstitutional on its face because the statute itself went beyond
 14
       the scope and bounds of §2256(8). Id. Here, Plaintiff’s claims are soundly within the
 15
       scope and bounds of §2256(8). Despite the Defendants’ mischaracterization of the
 16
       decision, Ashcroft held that the CPPA unconstitutionality prohibited “virtual child
 17
       pornography” which does not depict a real identifiable child and is thus not child
 18
       pornography. Despite the Defendants’ arguments, this case is not on all fours with
 19
       Ashcroft at all. Here, the Plaintiff Spencer Elden is the real person depicted on the
 20
       Album Cover and his identity is not in dispute.
 21
                Similarly, the Defendants’ citation to dicta noted in Justice Brennan’s
 22
       concurring decision in Ferber regarding a hypothetical matter not before the court is
 23
       unpersuasive and non-binding. In New York v. Ferber, 458 U. 747 (1982), the
 24
       Supreme Court considered a First Amendment attack on a New York statute that
 25
       criminalized the distribution of the depiction of the sexual performance by a child.
 26
       The traditional rule is that “a person to whom a statute may constitutionally be
 27
       applied may not challenge that statute on the ground that it may conceivably be
 28
       604431188.2                                 36
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   1 applied unconstitutionally to others in situations not before the Court.” Id. The
   2 Ferber court further noted: “we have sustained legislation aimed at protecting the
   3 physical and emotional well-being of youth even when the laws have operated in the
   4 sensitive area of constitutionally protected rights.” Id. at 757. The Court described
   5 the protection of children from abuse as “a government objective of surpassing
   6 importance.” Id. at 757. And noted that “The legislative judgment, as well as the
   7 judgment found in the relevant literature, is that the use of children as subjects of
   8 pornographic materials is harmful to the physiological, emotional, and mental health
   9 of the child.” Id. at 758.
 10            The Ferber Court also recognized that “[t]he distribution of photographs and
 11 films depicting sexual activity by juveniles is intrinsically related to the sexual abuse
 12 of children in at least two ways. First, the materials produced are a permanent record
 13 of the children’s participation and the harm to the child is exacerbated by their
 14 circulation. Second, the distribution network for child pornography must be closed if
 15 the production of material which requires the sexual exploitation of children is to be
 16 effectively controlled. Indeed, there is no serious contention that the legislature was
 17 unjustified in believing that it is difficult, if not impossible, to halt the exploitation
 18 of children by pursuing only those who produce the photographs and movies.” Id.
 19 759-760. The Ferber Court explicitly rejected the argument that to pass
 20 constitutional muster a governmental action focused on the sexual depiction of
 21 children cannot restrict the depiction of non-obscene images as is the case with adult
 22 pornography statutes:
 23            The Miller standard, like all general definitions of what may be banned
 24            as obscene, does not reflect the State’s particular and more compelling
               interest in prosecuting those who promote the sexual exploitation of
 25
               children. Thus, the question under the Miller test of whether a work,
 26            taken as a whole, appeals to the prurient interest of the average person
 27            bears no connection to the issue of whether a child has been physically
               or psychologically harmed in the production of the work. Similarly, a
 28
      604431188.2                                 37
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   1            sexually explicit depiction need not be “patently offensive” in order to
   2            have required the sexual exploitation of a child for its production.” Id.
                at 761.
   3
   4            And the Ferber Court rejected the argument that a sexualized image of a child

   5 receives first amendment protection if, as is true for adult pornography, the “work,
   6 which, taken on the whole . . . contains serious literary, artistic, political, or
   7 scientific value. . . .” Id. at 761. “‘It is irrelevant to the child [who has been abused]
   8 whether or not the material … has a literary, artistic, political or social value.’” Id. at
  9 761 (quoting Memorandum of New York Assemblyman in support of law under
 10 consideration).
 11             The Ferber court contrasted the first amendment restrictions applied to child

 12 and adult pornography in three respects: “[a] trier of fact need not find that the
 13 material appeals to the prurient interest of the average person; it is not required that
 14 sexual content portrayed be done so in a patently offensive manner; and the material
 15 at issue need not be considered as a whole.” Id. at 764. The Ferber case instructs us
 16 that states may legitimately protect the dignity and psychological well-being of
 17 children by forbidding child pornography. “A democratic society rests, for its
 18 continuance, upon the healthy, well-rounded growth of young people into full
 19 maturity as citizens.” New York v. Ferber, 102 S. Ct. 3348, 3354 (1982) quoting
 20 Prince v. Massachusetts, 64 S.Ct. 438, 443 (1944). The Court construed Penal Code
 21 section 311.4 to encompass not only a nude exhibition of the pubic or rectal area,
 22 but, in appropriate cases, exhibitions focusing unnaturally upon a child’s underwear
 23 or bikini-clad pubic or rectal area serves the purpose of protecting the dignity and
 24 psychological well-being of children.
 25       Notably, the Legislature did not require a “nude” exhibition in Penal Code

 26 section 311.4, subsection (d). Presumably, the Legislature was aware that for some
 27 pedophiles, furtive glimpses of a child’s underwear-covered genitals is sexually
 28 stimulating. The stimulation these pedophiles feel is constitutionally protected.
       604431188.2                                  38
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   1 Nevertheless, the Legislature could reasonably conclude that such photography is
   2 unacceptable if the photographer obtains his pictures by exploiting his subject and
   3 reducing the child to a sexual object in order to satisfy the cravings of an audience
   4 of pedophiles. A child should not have to face a lifetime of knowing that a
   5 permanent record has been made of his or her abasement. People v. Kongs, 30 Cal.
   6 App. 4th 1741, 1754, 37 Cal. Rptr. 2d 327, 334 (1994), as modified (Jan. 18, 1995)
   7 (emphasis added). In sum, the Album Cover image depicts a display of an infant
   8 child’s fully nude genitals, and the trier of fact must determine whether the display
   9 of Plaintiffs genitals is lascivious.
 10 V.         CONCLUSION
 11            A.    Defendants’ Conclusion
 12            For the foregoing reasons, the Court should (1) grant Defendants’ summary
 13 judgment on Plaintiff’s 18 U.S.C. § 2255 claim because the undisputed evidence
 14 shows that the Album Cover does not constitute child pornography; (2) grant
 15 Defendants’ summary judgment on their defense that the First Amendment prohibits
 16 application of § 2255 to the Album Cover.
 17            B.    Plaintiff’s Conclusion
 18            For the reasons stated above, Plaintiff respectfully requests that this Court
 19 Deny Defendants’ Motion for Summary Judgment and allow this case to proceed to
 20 trial.
 21 DATED: October 21, 2024                   KENDALL BRILL & KELLY LLP
 22
                                              By:          /s/ Jeffrey M. Chemerinsky
 23                                                 Jeffrey M. Chemerinsky
 24                                                 Attorneys for Defendants UMG
                                                    Recordings, Inc., Nirvana, L.L.C.,
 25                                                 Courtney Love (as Executor of Estate of
 26                                                 Kurt Cobain), Krist Novoselic, David
                                                    Grohl, and Kirk Weddle
 27
 28
      604431188.2                                   39
                    NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT
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                                        ID #:1101



   1 DATED: October 21, 2024                  JACKSON WALKER L.L.P.
   2
                                              By:         /s/ Joshua A. Romero
   3                                                Joshua A. Romero (admitted pro hac vice)
   4                                                Attorneys for Defendant Kirk Weddle

   5
       DATED: October 23, 2024                MARSH LAW FIRM PLLC
   6
   7
   8                                          By:        /s/ Margaret Mabie
   9                                                James R. Marsh
                                                    Robert Y. Lewis
 10
                                                    Margaret Mabie
 11                                                 Attorneys for Plaintiff Spencer Elden
 12                       ATTESTATION UNDER LOCAL RULE 5-4.3.4
 13             I, Bert H. Deixler, attest that the above-listed signatories on whose behalf this
 14 document is being filed have concurred in the filing’s content and have authorized the
 15 filing.
 16
 17 DATED: October 23, 2024                              KENDALL BRILL & KELLY LLP
 18
 19
 20                                                            /s/ Jeffrey M. Chemerinsky
                                                         By:
 21                                                            Jeffrey M. Chemerinsky
 22
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       604431188.2                                  40
                     NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT
